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                   EXHIBIT A 
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                           Anna Marie Jensen-Trees and Stephen Stephens
                     6
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                     8
                                         IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                     9
                                                     IN AND FOR THE COUNTY OF MARICOPA
                    10
                           OLGA DIAZ, a married woman, on behalf         No. CV2015-000126
                    11     of herself and all other statutory
                           beneficiaries of MANUEL DIAZ,
                    12     deceased, including MIA OLGA DIAZ and NOTICE OF FILING OF REMOVAL
                           NELLY JOANNE DIAZ, minor children
                    13     of MANUEL DIAZ, deceased ,
                    14                                   Plaintiffs,
                                                                                   (Assigned to The Honorable
                    15     v.                                                             Mark H. Brain
                    16     STATE OF ARIZONA, a governmental
                           entity; CORIZON HEALTH, INC., a
                    17     Tennessee corporation; CORIZON INC., a
                           Tennessee corporation; COMMUNITY
                    18     HEALTHCARE OF DOUGLAS, an
                           Arizona corporation; CHARLES L. RYAN
                    19     and JANE DOE RYAN, a married couple;
                           AL RAMOS and JANE DOE RAMOS, a
                    20     married couple; NAOMI FIMBRES and
                           JOHN DOE FIMBRES, a married couple;
                    21     ANNA MARIE JENSEN-TREES and
                           JOHN DOE JENSEN-TREES, a married
                    22     couple; DEBRA KINDER and JOHN DOE
                           KINDER, a married couple; STEPHEN
                    23     STEPHENS and JANE DOE STEPHENS,
                           a married couple; CHRISTINE PEREA and
                    24     JOHN DOE PEREA, a married couple;
                           CARLA TRANSUE and JOHN DOE
                    25     TRANSUE, a married couple; JANE
                           DOES I-X, inclusive; JOHN DOES I-X,
                    26     inclusive; BLACK CORPORATIONS I-X,
      LAW OFFICES
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                                 Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 3 of 42




                     1
                           inclusive; WHITE PARTNERSHIPS I-X,
                     2     inclusive,
                     3                                 Defendants.
                     4
                                   Defendants, State of Arizona (“Arizona”), Corizon Health, Inc., Corizon, Inc.
                     5
                           ("Corizon"), and Corizon employees Naomi Fimbres, Anna Marie Jensen-Trees, and Stephen
                     6
                           Stephens, by and through their undersigned counsel, and pursuant to 28 U.S.C. § 1441, et
                     7
                           seq., notifies this Court that they have filed a Notice of Removal of this action to the United
                     8
                           States District Court for the District of Arizona. A copy of the Notice of Removal (exclusive
                     9
                           of exhibits) is attached as Exhibit “A.”
                    10
                                   RESPECTFULLY SUBMITTED this 30th day of June, 2015.
                    11
                    12                                                RENAUD COOK DRURY MESAROS, PA

                    13
                    14
                                                                      By: /s/ Ellen S. Levy
                    15                                                        J. Scott Conlon
                                                                              Ellen S. Levy
                    16                                                   One North Central, Suite 900
                                                                         Phoenix, Arizona 85004-4417
                    17                                                   Attorneys for State of Arizona, Corizon
                                                                         Health, Inc., Corizon, Inc. Naomi Fimbres,
                    18                                                   Anna Marie Jensen-Trees and Stephen Stephens
                    19     ORIGINAL e-filed this same date and a
                           copy mailed to:
                    20
                           Lincoln Combs, Esq.
                    21     Kevin Neal, Esq.
                           GALLAGHER & KENNEDY
                    22     2575 East Camelback Road
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                    23     Attorneys for Plaintiffs
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                    25     By:     /s/ L. Bergantino
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Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 4 of 42




                                
                                
                                
                                
                                
                                
                                
                EXHIBIT B 
                     Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 5 of 42




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            2
                Kevin Neal (Bar No. 011640)
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                Attorneys for Plaintiff/Statutory Beneficiary
            6   Olga Diaz, mother of Manuel Diaz, Deceased,
                and Jessica Trevino, natural mother and legal
            7   guardian ofStatutory Beneficiaries Mia Olga
                Diaz and Nelly Joanne Diaz, minor children of
            8   Manuel Diaz
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                               IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
«)<'j.~~   10
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~~.!!~                               IN AND FOR THE COUNTY OF MARICOPA
OlU>~
~In
~Nil.      11

           12
                OLGA DIAZ, a married woman, on behalf of herself
                and all other statutory beneficiaries of MANUEL
                                                                   r:v 2 o1 s-o oo-~ 2 6
                                                                   ~0.
                DIAZ, deceased, including MIA OLGA DIAZ and
           13   NELLY JOANNE DIAZ, minor children of
                MANUEL DIAZ, deceased                              COMPLAINT
           14
                                    Plaintiffs,                    (Tort- Non-Motor Vehicle;
           15                                                      Wrongful Death)
                v.
           16
                STATE OF ARIZONA, a governmental entity;
           17   CORIZON HEALTH, INC., a Tennessee
                corporation; CORIZON, INC., a Tennessee
           18   corporation; JANE DOES 1-X, inclusive; JOHN
                DOES 1-X, inclusive; BLACK CORPORATIONS 1-
           19   X, inclusive; WHITE PARTNERSHIPS 1-X,
                inclusive,
           20
                                    Defendants.
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''




                 Plaintiff Olga Diaz, on behalf of all statutory beneficiaries of Manuel Diaz,

      2   deceased, including Mia Olga Diaz and NelJy Joanne Diaz, alleges as follows:

      3          1.     At all times material to this Complaint, Plaintiff Olga Diaz, mother of

      4   decedent Manuel Diaz, was a resident ofthe State of Arizona, County of Maricopa.

      5          2.     At all times material to this Complaint, Jessica Trevino was a resident of the

      6   State of Arizona, County of Maricopa, and was and is the natural mother and legal

      7   guardian of Mia Olga Diaz and Nelly Joanne Diaz.

      8          3.     Mia Olga Diaz, a minor, and Nelly Joanne Diaz, a minor, are the surviving

      9   children of Manuel Diaz and Jessica Trevino and at all times relevant to this Complaint

     10   were residents ofthe State of Arizona, County ofMaricopa.

     11          4.     At all times material to this Complaint other than when he was in the

     12   custody of the Arizona Department of Corrections as described herein, Manuel Diaz,

     13   deceased, was a resident ofthe State of Arizona, County of Maricopa, prior to his death.

     14          5.     Plaintiff Olga Diaz brings this claim on behalf of herself and all other

     15   statutory beneficiaries of Manuel Diaz, deceased, pursuant to A.R.S. § 12-6 I 2.

     16          6.     Defendant CORIZON HEALTH, INC. is a Tennessee corporation that is

     17   authorized to and during the relevant time did transact business throughout Arizona,

     18   including at the Douglas State Prison in Douglas, Cochise County, Arizona.

     19         7.      Defendant CORIZON, INC. is a Tennessee corporation that is authorized to

     20   and during the relevant time did transact business throughout Arizona, including at the

     21   Douglas State Prison in Douglas, Cochise County, Arizona.

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            8.     Defendant CORIZON HEALTH, INC. and CORJZON, INC. are hereinafter

 2   referred to collectively as "CORIZON."

 3          9.     Defendant STATE OF ARIZONA is a governmental entity that has a non-

 4   delegable duty to, among other things, provide health care to those individuals in the

 5   custody and control of the Arizona Department of Corrections.             As a result and

 6   consequence of that non-delegable duty, the STATE OF ARIZONA is liable for the acts

 7   of the other Defendants, including CORIZON, and any and all employees of CORIZON

 8   or the Arizona Department of Corrections.

 9          10.    The Arizona Department of Corrections ("ADOC") is an agency of the

10   STATE OF ARIZONA.

II          11.    Defendants Jane Does 1-X, John Does I-X, Black Corporations 1-X, and

12   'White Partnerships 1-X, inclusive, are individuals, corporations, partnerships or business

13   entities which caused the events complained of to occur in the State of Arizona. Plaintiff-s

14   do not know the true identities of Defendants.       However, Plaintiffs will amend this

15   Complaint when the true names of the Defendants become known.

16          12.    Defendants John Does 1-X, Jane Does I-X, Black Corporations I-X, arid

17   ABC Partnerships I-X can include, but are not limited to, doctors, physicians, surgeons,

18   nurse practitioners, physicians assistants, or any other health care providers, who were

19   employees, agents or contractors of Defendants who administered care and treatment or

20   rendered diagnoses to Manuel Diaz and who negligently breached the standard of care in

21   said care, treatment, or diagnoses to Manuel Diaz.

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            13.   Upon information and belief, all physicians, nurses and other healthcare

 2   providers who provided care and treatment to Manuel Diaz while in ADOC custody

 3   including but not limited to the period from January 11, 2014, until his death on January

 4   24, 2014, were employees, agents, or ostensible agents of Defendants STATE OF

 5   ARIZONA or CORlZON for whose negligent or otherwise tortious conduct Defendants

 6   STATE OF ARIZONA and CORIZON are vicariously liable under the doctrines of

 7   respondeat superior, principal/agency, and   non~delegable   duty.

 8          14.   Upon information and belief, Naomi Fimbres, L.P.N.; Anna Marie Jensen-

 9   Trees, R.N.; Stephen Stephens, L.P.N.; Carla Transue, N.P.; Debra Kinder, F.N.P.;

10   Christine Perea, R.N were agents, employees, or servants of ADOC and/or Defendant

11   CORlZON at all times material to the matters complained of herein.

12          15.   At all times relevant, individuals employed by ADOC or Defendant

13   CORIZON, including but not limited to Naomi Fimbres, L.P.N.; Anna Marie Jensen ..

14   Trees, R.N.; Stephen Stephens, L.P.N.; Carla Transue, N.P.; Debra Kinder, F.N.P.;

15   Christine Perea, R.N. were acting within the course and scope of their employment and/or

16   agency with ADOC and/or Defendant CORIZON. Defendants STATE OF ARIZONA

17   and/or CORIZONA are vicariously liable and responsible for actions and/or negligence on

18   the part of all individuals who failed to provide non·negligent medical care to Manuel

19   Diaz, including Naomi Fimbres, L.P.N.; Anna Marie Jensen~Trees, R.N.; Stephen

20   Stephens, L.P.N.; Carla Transue, N.P.; Debra Kinder, F.N.P.; Christine Perea, R.N.

21   Therefore, Defendants STATE OF ARIZONA and/or Defendant CORIZON are liable for

22
                                                  4
                                            -------------------

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     the acts and omissions of individuals employed by them pursuant to the doctrine         of
 2   respondeat superior.

 3          16.    At all times mentioned herein, Defendants, and each of them, were agents,

 4   servants and employees of the remaining Defendants, and each was at all times acting in

 5   the course and scope of said agency, service and employment. All Defendants were either

 6   joint tortfeasors with the other Defendants and were concurrently or jointly and severally

 7   liable for the acts and omissions described herein or secondarily liable for said acts and

 8   omissions.

 9          17.    At all times mentioned herein, Defendants STATE OF ARIZONA and

10   CORlZON acted through their physicians, surgeons, nurses, and/or any other health care

11   providers and agents who were negligently providing care to Manuel Diaz. Defendants

12   STATE OF ARIZONA and CORIZON are therefore vicariously liable for the negligence

13   of said physicians, surgeons, nurses, and/or any other health care providers and agents

14   who provided care and treatment to Manuel Diaz during the period January 11, 2014, to

IS   January 17, 2014.

16          18.   All Defendants, had duties to render and exercise proper and reasonable

17   medical care, assistance, and treatment to Manuel Diaz.

18          19.   Defendants had duties to take appropriate steps to correctly diagnose and

19   treat Manuel Diaz.

20         20.    Defendants diagnosed, treated and cared for Manuel Diaz in an unskilled;

21   careless and negligent manner and failed to use proper skill or care in his treatment;

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     specifically in failing to treat a flu virus and resulting complications that caused Manuel

 2   Diaz's death.

 3          2 I.     Defendants caused the events complained of to occur in the State (,'[

 4   Arizona.

 5          22.      Jurisdiction and venue are appropriate in this Court.      The amount hi

 6   controversy exceeds the minimum jurisdictional limits of this court.

 7          23.      On or about July 17, 2014, Plaintiff served a notice of claim on Defendant

 8   STATE OF ARJZONA in compliance with A.R.S. § 12-821.01. Additionally, although

 9   Defendant CORJZON is not entitled to the protections of A.R.S § 12~821.0 I, Plaintiff also

10   served a claim notice on Defendant CORIZON.

II          24.      Service of Plaintiffs notice of claim on Defendants STATE OF ARIZONA

12   and CORJZON was proper and complied with all statutory and common law requirements

13   for presentation of notices of claim under A.R.S. § 12-821.01 and all other applicable law.

14          25.      No substantive response or reply to the notice of claim has been made by

15   Defendants STATE OF ARIZONA or CORIZON. Thus, pursuant to A.R.S. § I2-82l.OJ;

16   Plaintiffs claim has been denied and this lawsuit is properly commenced.

17          26.      Manuel Diaz was taken into the custody of ADOC pursuant to court order

I8   sentencing him to five years in prison in October 2013.

19          27.      Defendants knew or should have known that 2013-2014 was expected to be

20   a particularly virulent flu season and that because of the nature of incarceration and the

21   prison population inmates are particularly susceptible to the flu.

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     Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 11 of 42




            28.    Manuel     also had specific pre-existing health complications which

 2    compromised his immune system and made him particularly likely to both become

 3    infected with the flu virus and to suffer more severely and have more serious

 4   complications ifhe did become infected.

 5          29.    Despite this infonnation, Manuel was not given a flu vaccine at any point

 6   while in ADOC custody, or even given the opportunity to be vaccinated.

 7          30.    In January 2014, Manuel became very ill.

 8          3 I.   On or about January 11, 2014, through January 17, 2014, when he was

 9   discharged first to Southeastern Arizona Medica) Center ("SEAMC") in Douglas and then

10   medically evacuated by helicopter to St. Luke's Medical Center in Phoenix, Manuel

11   received medical care and attention from ADOC and CORIZON agents and employees for

12   flu-like symptoms.

13          32.    Manuel, who was only 31 years old, presented on January 11, 2014, to the

14   ADOC infirmary at the Douglas State Prison where he was incarcerated with tingling in

15   hands and feet, genera) body aches, shortness of breath, fever of over 103 degrees, nausea

16   and vomiting, and body chills. He reported that these symptoms had started on January 9,

17   2014, and thus had already lasted two days.

18          33.    Defendant CORIZON healthcare providers noted in this initial visit that

19   Manuel had not had a flu shot that flu season, but did nothing to address the flu other than

20   telling Manuel to take ibuprofen and drink lots of water.

21          34.    Over the next three days Manuel's condition worsened, but Defendant

22   CORIZON healthcare providers did nothing to address the virus ravaging his body.
                                                   7
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             35.    Instead, on January 12 and 13, 2014, they continued merely to recommend

 2    rest, water, and ibuprofen, and on January 14, 2014, prescribed an inhaler to help with

 3    breathing.

 4           36.    Unsurprisingly, ManuePs condition worsened and on January 15, 2014, the

 5    fifth day of his illness, he was barely able to breathe and extremely sick.

 6           37.    Manuel's fever had spiked along with his other vitals and he was coughing

 7   blood. Defendant Corizon healthcare providers determined that urgent intervention was

 8   needed at this time and referred Manuel for transfer out of the prison to nearby SEAMC in

 9   Douglas.                                                                               .· ..

10           3 8.   Manuel was sent back to the prison with prescriptions for Albuterol;

11   Robitussin, and Zithromax later that morning on January 1S, 2014.

12           39.    By 6:30p.m. on January 15th, Manuel's condition was rapidly deteriorating.

13   A corrections officer reported that Manuel had "Bloody stool." The aching, headache,

14   and shortness of breath remained, and Manuel's oxygen saturation levels were extremely

15   low, in the 80's.     Although Defendant CORIZON healthcare providers checked the

16   "Urgent Intervention" box, no additional treatment was given and Manuel was told to

17   return to the infirmary in the morning.

18          40.     By January 16, 2014, Manuel had been extremely sick for almost a week

19   with flu symptoms but had received no treatment for the flu. When he came back to th~

20   infirmary at 7:35 a.m. he was in a wheelchair because he could barely walk and was

21   having major trouble breathing. His vitals were again very high, and his oxygen levels

22   were dangerously low.
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            41.    Defendant CORIZON healthcare providers ordered Manuel be given oxygen

 2    and a saline IV to stabilize his condition so he could be transferred back to SEAMC

 3    immediately. An ambulance delivered Manuel to SEAMC at 8:40p.m.                          .:h.


 4          42.    This time, when Manuel was seen in the ER at SEAMC he was given·

 5   Tamitlu STAT.

 6          43.    His condition was determined to be so severe and emergent that he was

 7   immediately evacuated to St. Luke's Medical Center in Phoenix that day.

 8          44.    In his admission at St. Luke's Manuel tested positive for the flu and was

 9   noted to have suffered severe lung and kidney damage.

10          45.    Over the next eight days at St. Luke's, Manuel's clinical course was

11   extremely difficult from complications from the HI Nl flu, specifically respiratory distress

12   syndrome, kidney failure, and respiratory failure.

13          46.    Manuel passed away from these conditions on January 24,2014.

14          47.    The Maricopa County Medical Examiner detennined that Manuel died from

15   Hcomplications of influenza."

16          48.    A subsequent autopsy confinned that Manuel had died from complications

17   from flu virus Influenza A HlNI.

18          49.    Despite overwhelming evidence of an active flu virus infection while in

19   ADOC custody and under the treatment of Defendant CORIZON medical care providers

20   that had begun on January 9, 2014, upon information and belief Manuel did not receive

21   any treatment for the flu until January 17, 2014.

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             Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 14 of 42



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                     50.     Timely treatment of his flu virus would have prevented Manuel's death

         2   from flu virus complications.

         3           51.     By the time Manuel was medically evacuated to St. Luke's Medical Center

         4   on January 17,2014, it was too late for medical interventions and flu treatment to save his

         5   life.

         6           52.     As a result of the negligence and gross negligence of Defendants, Manuel

         7   Diaz died leaving two young children who depended upon him for support, care, comfort,

         8   and love.

         9           53.     As a result of the negligence and gross negligence of Defendants, Manuel

        10   Diaz died leaving a mother who enjoyed the care, comfort, and love of the relationship

        11   with her son.

        12           54.     Defendants were negligent, grossly negligent, and careless in the

        13   performance of duties of protection and care and failed to conform to the standards of

        14   practice customarily recognized by medical physicians and hospitals in the State of

        15   Arizona and other communities situated throughout the United States.                      :.·. :f

        16           55.     Defendants were negligent, grossly negligent, and engaged in conduct

        17   which fell below applicable standards of care.

        18           56.     As a direct and proximate result of Defendants' negligent, grossly negligent~

        19   reckless, and careless acts and omissions, Manuel Diaz suffered from injuries and

        20   complications resulting in his death on January 24, 2014.

        21           57.     As a further direct and proximate result of Defendants' negligent, gross

        22   negligent, careless and reckless acts and omissions, the statutory beneficiaries herein;
                                                           10
     Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 15 of 42




 l   Plaintiff Olga Diaz, Mia Olga Diaz, and Nelly Joanne Diaz have experienced, and wilJ

 2   continue to experience, pain, grief, sorrow, anguish, stress, shock, and mental suffering as

 3   a result of Manuel Diaz's wrongful death.

 4          58.    As a further direct and proximate result of Defendants' negligent, gross

 5   negligent, careless and reckless acts and omissions, the statutory beneficiaries herein,

 6   Plaintiff Olga Diaz, Mia Olga Diaz, and Nelly Joanne Diaz have been, and will continue

 7   to be, deprived of Manuel Diaz's love, affection, companionship, care, protection,

 8   consortium, guidance, society, companionship, counsel, advice and solace as a result of

 9   the wrongful death ofManuel Diaz.

10          59.    As a further direct and proximate result of Defendants' negligent, gross

11   negligent, careless, and reckless acts and omissions, Plaintiff Olga Diaz, Mia Olga Diaz;

12   and Nelly Joanne Diaz have experienced and will continue to experience services that

13   have already been lost as a result of the death, and that are reasonably probable to be lost

14   in the future from the wrongful death of Manuel Diaz.

15          60.    The   above-described     breaches,   negligence,    and   gross   negligence

16   proximately give rise to and constitute a claim for damages for wrongful death pursuant to

17   A.R.S. §§ 12-611 et seq.                                                                 . '


18         WHEREFORE, Plaintiff and the other individual statutory beneficiaries pray for

19   judgment against Defendants, and each ofthem, as follows:

20          1.    For a sum that is reasonable and just for the wrongful death of Manuel Diaz:;

21         2.     For general compensatory damages in a just and reasonable amount;

22
                                                 11
     Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 16 of 42




               3.       For the reasonable value of special damages to compensate Manuel Diaz's

 2   surviving children and statutory beneficiaries, resulting from her death;

 3             4.       For Plaintifrs costs incurred herein; and
 4             5.       For such other and further relief as the Court and jury deem just and proper

 5   in the premises.

 6             RESPECTFULLY SUBMITTED this 161h day of January, 2015.

 7
                                                       GALLAGHER:         KE~·:·
 8

 9
                                                       By      ~(___/
                                                             Lin o Combs
                                                           · Kevin Neal
10                                                           2575 East Camelback Road
                                                             Phoenix, Arizona 850 16-9225
11
                                                            Attorneys for Plaintiff/Statutory
12                                                          Beneficiary Olga Diaz, mother of Manuel
                                                            Diaz, Deceased, and Jessica Trevino,
13                                                          natural mother and legal guardian of
                                                            Statutory Beneficiaries Mia Olga Diaz
14                                                          and Nelly Joanne Diaz, minor children of
                                                            Manuel Diaz
15

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Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 17 of 42




                                 
                                 
                                 
                                 
                                 
                                 
                                 
                EXHIBIT C 
                  Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 18 of 42




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                 Kevin Neal (Bar No. 0 11640)
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             5   kevin.neal@gknet.com                      '              ....
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                                                                                                -~   .. ---··
                 Attorneys for Plaintiff/Statutory Beneficiary
             6   Olga Diaz, mother of Manuel Diaz, Deceased,
                 and Jessica Trevino, natural mother and legal
             7   guardian ofStatutory Beneficiaries Mia Olga
                 Diaz and Nelly Joanne Diaz, minor children of
             8   Manuel Diaz
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~~.~e                                   IN AND FOR THE COUNTY OF MARICOPA
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                 OLGA DIAZ, a married woman, on behalf of herself
            12   and all other statutory beneficiaries of MANUEL                          No. CV         2 0 1 5-0 0 0 ·j 2 6
                 DIAZ, deceased, including MIA OLGA DIAZ and
            13   NELLY JOANNE DIAZ, minor children of                                     SUMMONS
                 MANUEL DIAZ, deceased
            14                                                                            (Tort- Non-Motor Vehicle;
                                        Plaintiffs,                                       Wrongful Death)
            15
                 v.
            16                                                       'I     /G;.
                 STATE OF ARIZONA, a governmental entity;
            17   CORIZON HEALTH, INC., a Tennessee
                 corporation; CORIZON, INC., a Tennessee
            18   corporation; JANE DOES 1-X, inclusive; JOHN
                 DOES 1-X, inclusive; BLACK CORPORATIONS I-
            19   X, inclusive; WHITE PARTNERSHIPS 1-X,
                 inclusive,
            20
                                        Defendants.
            21
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            22
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)




     1   THE STATE OF ARIZONA TO THE DEFENDANT:

     2

     3
                  YOU ARE HEREBY SUMMONED and required to appear and defend, within the
     4
         time applicable, in this action in this Court. If served within Arizona, you shall appear
     5
         and defend within 20 days after the service of the Summons and Complaint upon you,
     6   exclusive of the day of service. If served out of the State of Arizona, whether by direct

     7   service, by registered or certified mail, or by publication, you shall appear and defend
         within 30 days after the service of the Summons and Complaint upon you is complete,
     8
         exclusive of the day of service. Where process is served upon the Arizona Director of
     9   Insurance as an insurer's attorney to receive service of legal process against it in this state,
    10   the insurer shall not be required to appear, answer or plead until expiration of 40 days

    11   after date of such service upon the Director. Service by registered or certified mail out of
         the State of Arizona is complete 30 days after the date of filing the receipt and affidavit of
    12
         service with the Court. Service by publication is complete 30 days after the date of first
    13
         publication. Direct service is complete when made. Service upon the Arizona Mot<?f
    14   Vehicle Superintendent is complete 30 days after filing the Affidavit of Compliance and

    15   return receipt or Officer's Return. Arizona Rules of Civil Procedure 4; A.R.S. §§20-222,
         28-502, AND 28-503.
    16
                  YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
    17
         within the time applicable, judgment by default may be rendered against you for the relief
    18   demanded in the Complaint.

    19            YOU ARE CAUTIONED that in order to appear and defend, you must file an
         Answer or proper response in writing with the Clerk of this Court, accompanied by the
    20
         necessary filing fee, within the time required, and you are required to serve a copy of any
    21
         Answer or response upon the Plaintiffs' attorney. Arizona Rule of Procedure IO(d); A.RS .
         4615999vll24873·0001
    22   §12-311; Arizona Rule of Procedure 5.
                                                        2
           Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 20 of 42

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                     THE NAME AND ADDRESS of Plaintiffs attorney is

      2                                           Lincoln Combs
                                                   Kevin D. Neal
      3                                        Gallagher & Kennedy
                                              2575 E. Camelback Road
      4                                       Phoenix, Arizona 85016

      5             Requests for reasonable accommodation for persons with disabilities must be made
          to the division assigned to the case by the party needing accommodation or his/her
      6
          counsel at least three (3) judicial days in advance of a scheduled proceeding. Requests for
      7
          an interpreter for persons with limited English proficiency must be made to the division
      8   assigned to the case by the party needing the interpreter and/or translator or his/her

      9   counsel at least ten ( 10) judicial days in advance of a scheduled court proceeding.

     10                        SIGNED AND SEALED this date:        JAN I 6 2015



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                                    Deputy Clerk       ~'
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                EXHIBIT D 
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                                                                                    ~y
                 Lincoln Combs (Bar No. 025080)
                 Kevin Neal (BarNo. 011640)                                JAN 16 2015
            2
      '·.        GALLAGHER & KENNEDY, P.A.
            3    2575 East Camelback Road                                  MiCf-IAEL K. JEANES CIERI/
                 Phoenix, Arizona 85016~9225                                        P. ROE ' ~. ,   '
            4                                                                   DEP~TYCLERK
                 Telephone: (602) 530~8000
            5    Facsimile:    (602) 530-8500
                 lincoln.combs@gknet.com
            6    kevin.neal@gknet.corn
                 Attorneys for Plaintiff/Statutory
            7
                 Beneficiary Olga Diaz, mother of
             8   Manuel Diaz, Deceased, and Jessica
                 Trevino, natural mother and legal
            9    guardian of Statutory Beneficiaries
            10   Mia Olga Diaz and Nelly Joanne
                 Diaz, minor children of Manuel Diaz
            11

            12                            SUPERIOR COURT OF THE STATE OF ARIZONA
                                                          COUNTY OF MARICOPA
            13
            14   OLGA DIAZ, a married woman, on behalf              No.   cv 2015-000'l 26
                 of herself and all other statutory                 CERTIFICATE OF COMPULSORY
            15   beneficiaries of MANUEL DIAZ,                      ARBITRATION
            16   deceased, including MIA OLGA DIAZ
                 and NELLY JOANNE DIAZ, minor
            17   children of MANUEL DIAZ, deceased
            18
                                            Plaintiffs,
            19
                 v.
            20
            21   STATE OF ARIZONA, a governmental
                 entity; CORIZON HEALTH, INC., a
            22   Tennessee corporation; CORIZON, INC.,
                 a Tennessee corporation; JANE DOES I~X,
            23
                 inclusive; JOHN DOES I~X, inclusive;
            24   BLACK CORPORATIONS I-X, inclusive;
                 WHITE PARTNERSHIPS I~X, inclusive,
            25
..)
            26 11~----------------------------


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       ...·




                                                  Defendants.
               2
                            Plaintiff, through counsel undersigned, hereby certifies that the largest award
               3
                   sought by Plaintiff, including punitive damages, but excluding interest, attorneys' fees and
               4
                   costs, does exceed the limits set by Local Rule for compulsory arbitration. This case is
.. )
               5
                   not subject to the Rules of Civil Procedure regarding arbitration .
               6                          \ln+h
                            DATED this ill_ day of January, 2015.
               7
                                                                   GALLAGHER & KENNEDY, P.A.
               8
               9
              10
              11
                                                                   By:
                                                                       Linco
                                                                             ~a ombs
                                                                       Kevin D. Neal
                                                                       2575 East Camelback Road
              12
                                                                       Phoenix, Arizona 85016-9225
              13                                                       Attorneys for Plaintiff/Statutory
                                                                       Beneficiary Olga Diaz, mother of Manuel
              14                                                       Diaz, Deceased, and Jessica Trevino,
              15                                                       natural mother and legal guardian of
                                                                       Statutory Beneficiaries Mia Olga Diaz
              16                                                       and Nelly Joanne Diaz, minor children of
                                                                       Manuel Diaz
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                    EXHIBIT E 
                                                                Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 25 of 42




                                                           1   Lincoln Combs (Bar No. 025080)
                                                               Kevin Neal (Bar No. 011640)
                                                           2   GALLAGHER & KENNEDY, P.A.
                                                               2575 East Camelback Road
                                                           3   Phoenix, Arizona 85016-9225
                                                               Telephone: (602) 530-8000
                                                           4   Facsimile: (602) 530-8500
                                                               lincoln.combs@gknet.com
                                                           5   kevin.neal@gknet.com
                                                               Attorneys for Plaintiff/Statutory Beneficiary
                                                           6   Olga Diaz, mother of Manuel Diaz, Deceased,
                                                               and Jessica Trevino, natural mother and legal
                                                           7   guardian of Statutory Beneficiaries Mia Olga
                                                               Diaz and Nelly Joanne Diaz, minor children of
                                                           8   Manuel Diaz
Gallagher & Kennedy, P.A.
                            Phoenix, Arizona 85016-9225
                             2575 East Camelback Road




                                                           9
                                  (602) 530-8000




                                                                            IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                          10
                                                                                   IN AND FOR THE COUNTY OF MARICOPA
                                                          11
                                                               OLGA DIAZ, a married woman, on behalf of herself
                                                          12   and all other statutory beneficiaries of MANUEL    No. CV2015-000126
                                                               DIAZ, deceased, including MIA OLGA DIAZ and
                                                          13   NELLY JOANNE DIAZ, minor children of
                                                               MANUEL DIAZ, deceased                              FIRST AMENDED
                                                          14                                                      COMPLAINT
                                                                                  Plaintiffs,
                                                          15                                                      (Tort – Non-Motor Vehicle;
                                                               v.                                                 Wrongful Death)
                                                          16
                                                               STATE OF ARIZONA, a governmental entity;
                                                          17   CORIZON HEALTH, INC., a Tennessee
                                                               corporation; CORIZON, INC., a Tennessee
                                                          18   corporation; COMMUNITY HEALTHCARE OF
                                                               DOUGLAS, an Arizona corporation; CHARLES L.
                                                          19   RYAN and JANE DOE RYAN, a married couple;
                                                               AL RAMOS and JANE DOE RAMOS, a married
                                                          20   couple; NAOMI FIMBRES and JOHN DOE
                                                               FIMBRES, a married couple; ANNA MARIE
                                                          21   JENSEN-TREES and JOHN DOE JENSEN-
                                                               TREES, a married couple; DEBRA KINDER and
                                                          22   JOHN DOE KINDER, a married couple;
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 1   STEPHEN STEPHENS and JANE DOE
     STEPHENS, a married couple; CHRISTINE
 2   PEREA and JOHN DOE PEREA, a married couple;
     CARLA TRANSUE and JOHN DOE TRANSUE, a
 3   married couple; JANE DOES I-X, inclusive; JOHN
     DOES I-X, inclusive; BLACK CORPORATIONS I-
 4   X, inclusive; WHITE PARTNERSHIPS I-X,
     inclusive,
 5
                         Defendants.
 6

 7
           Plaintiff Olga Diaz, on behalf of all statutory beneficiaries of Manuel Diaz,
 8
     deceased, including Mia Olga Diaz and Nelly Joanne Diaz, alleges as follows:
 9
           1.     At all times material to this Complaint, Plaintiff Olga Diaz, mother of
10
     decedent Manuel Diaz, was a resident of the State of Arizona, County of Maricopa.
11
           2.     At all times material to this Complaint, Jessica Trevino was a resident of the
12
     State of Arizona, County of Maricopa, and was and is the natural mother and legal
13
     guardian of Mia Olga Diaz and Nelly Joanne Diaz.
14
           3.     Mia Olga Diaz, a minor, and Nelly Joanne Diaz, a minor, are the surviving
15
     children of Manuel Diaz and Jessica Trevino and at all times relevant to this Complaint
16
     were residents of the State of Arizona, County of Maricopa.
17
           4.     At all times material to this Complaint other than when he was in the
18
     custody of the Arizona Department of Corrections as described herein, Manuel Diaz,
19
     deceased, was a resident of the State of Arizona, County of Maricopa, prior to his death.
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 1         5.     Plaintiff Olga Diaz brings this claim on behalf of herself and all other

 2   statutory beneficiaries of Manuel Diaz, deceased, pursuant to A.R.S. § 12-612, U.S.

 3   Const. amend. VIII, and 42 U.S.C. § 1983.

 4         6.     Defendant CORIZON HEALTH, INC. is a Tennessee corporation that is

 5   authorized to and during the relevant time did transact business throughout Arizona,

 6   including at the Douglas State Prison in Douglas, Cochise County, Arizona.

 7         7.     Defendant CORIZON, INC. is a Tennessee corporation that is authorized to

 8   and during the relevant time did transact business throughout Arizona, including at the

 9   Douglas State Prison in Douglas, Cochise County, Arizona.

10         8.     Defendant CORIZON HEALTH, INC. and CORIZON, INC. are hereinafter

11   referred to collectively as “CORIZON.”

12         9.     Defendant STATE OF ARIZONA is a governmental entity that has a non-

13   delegable duty to, among other things, provide health care to those individuals in the

14   custody and control of the Arizona Department of Corrections.          As a result and

15   consequence of that non-delegable duty, the STATE OF ARIZONA is liable for the acts

16   of the other Defendants, including CORIZON, and any and all employees of CORIZON,

17   as well as all employees of the Arizona Department of Corrections or any other agency.

18         10.    The Arizona Department of Corrections (“ADOC”) is an agency of the

19   STATE OF ARIZONA.

20         11.    Defendant COMMUNITY HEALTHCARE OF DOUGLAS, INC. at all

21   material times hereto was the owner and operator of Southeast Arizona Medical Center

22
                                                 3
      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 28 of 42




 1   (hereinafter “SEAMC,” collectively) in Douglas, Cochise County, Arizona and has its

 2   corporate headquarters in Douglas, Cochise County, Arizona.

 3         12.    Defendant Charles L. Ryan was, at all material times hereto, the Director of

 4   ADOC.

 5         13.    Upon information and belief, Defendant Ryan was at all times material

 6   hereto a resident of Maricopa County, Arizona.

 7         14.    Defendant Jane Doe Ryan is, upon information and belief, Mr. Ryan’s wife.

 8   Upon information and belief, Jane Doe Ryan was at all times material hereto a resident of

 9   Maricopa County, Arizona. Jane Doe Ryan is a fictitiously-named defendant whose true

10   identity is presently unknown. Plaintiff will amend this complaint when Jane Doe Ryan’s

11   true name becomes known.

12         15.    Defendant Al Ramos was, at all times material hereto, the Warden of the

13   Douglas State Prison.

14         16.    Upon information and belief, Defendant Ramos was at all times material

15   hereto a resident of Cochise County, Arizona.

16         17.    Defendant Jane Doe Ramos is, upon information and belief, Mr. Ramos’s

17   wife. Upon information and belief, Jane Doe Ramos was at all times material hereto a

18   resident of Cochise County, Arizona. Jane Doe Ramos is a fictitiously-named defendant

19   whose true identity is presently unknown. Plaintiff will amend this complaint when Jane

20   Doe Ramos’s true name becomes known.

21         18.    Defendant Naomi Fimbres was, at all material times hereto, a Corizon nurse

22   working in Douglas State Prison.
                                                4
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 1         19.    Upon information and belief, Defendant Fimbres was at all times material

 2   hereto a resident of Cochise County, Arizona.

 3         20.    Defendant John Doe Fimbres is, upon information and belief, Ms. Fimbres’s

 4   husband. Upon information and belief, John Doe Fimbres was at all times material hereto

 5   a resident of Cochise County, Arizona.       John Doe Fimbres is a fictitiously-named

 6   defendant whose true identity is presently unknown. Plaintiff will amend this complaint

 7   when John Doe Fimbres’s true name becomes known.

 8         21.    Defendant Anna Marie Jensen-Trees was, at all material times hereto, a

 9   Corizon nurse working in Douglas State Prison.

10         22.    Upon information and belief, Defendant Jensen-Trees was at all times

11   material hereto a resident of Cochise County, Arizona.

12         23.    Defendant John Doe Jensen-Trees is, upon information and belief, Ms.

13   Jensen-Trees husband. Upon information and belief, John Doe Jensen-Trees was at all

14   times material hereto a resident of Maricopa County, Arizona. John Doe Jensen-Trees is a

15   fictitiously-named defendant whose true identity is presently unknown. Plaintiffs will

16   amend this complaint when John Doe Jensen-Trees’ true name becomes known.

17         24.    Defendant Debra Kinder was, at all material times hereto, a Corizon nurse

18   working in Douglas State Prison.

19         25.    Upon information and belief, Defendant Kinder was at all times material

20   hereto a resident of Cochise County, Arizona.

21         26.    Defendant John Doe Kinder is, upon information and belief, Ms. Kinder’s

22   husband. Upon information and belief, John Doe Kinder was at all times material hereto a
                                                 5
      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 30 of 42




 1   resident of Cochise County, Arizona. John Doe Kinder is a fictitiously-named defendant

 2   whose true identity is presently unknown. Plaintiff will amend this complaint when John

 3   Doe Kinder’s true name becomes known.

 4         27.    Defendant Stephen Stephens was, at all material times hereto, a Corizon

 5   nurse working in Douglas State Prison.

 6         28.    Upon information and belief, Defendant Stephens was at all times material

 7   hereto a resident of Cochise County, Arizona.

 8         29.    Defendant John Doe Stephens is, upon information and belief, Mr.

 9   Stephens’ wife. Upon information and belief, John Doe Stephens was at all times material

10   hereto a resident of Cochise County, Arizona. John Doe Stephens is a fictitiously-named

11   defendant whose true identity is presently unknown. Plaintiff will amend this complaint

12   when John Doe Stephens’ true name becomes known.

13         30.    Defendant (Louisa) Christine Perea was, at all material times hereto, a

14   Corizon nurse working in Douglas State Prison.

15         31.    Upon information and belief, Defendant Perea was at all times material

16   hereto a resident of Cochise County, Arizona.

17         32.    Defendant John Doe Perea is, upon information and belief, Ms. Perea’s

18   husband. Upon information and belief, John Doe Perea was at all times material hereto a

19   resident of Maricopa County, Arizona. John Doe Perea is a fictitiously-named defendant

20   whose true identity is presently unknown. Plaintiff will amend this complaint when John

21   Doe Perea’s true name becomes known.

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      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 31 of 42




 1          33.      Defendant Carla Transue was, at all material times hereto, a Corizon nurse

 2   working in Douglas State Prison.

 3          34.      Upon information and belief, Defendant Transue was at all times material

 4   hereto a resident of Cochise County, Arizona.

 5          35.      Defendant John Doe Transue is, upon information and belief, Ms. Transue’s

 6   husband. Upon information and belief, John Doe Transue was at all times material hereto

 7   a resident of Maricopa County, Arizona.            John Doe Transue is a fictitiously-named

 8   defendant whose true identity is presently unknown. Plaintiff will amend this complaint

 9   when John Doe Transue’s true name becomes known.

10          36.      The individual Defendants were, at all material times hereto, acting in the

11   course and scope of their employment with ADOC and/or Corizon and acting under color

12   of state law.

13          37.      All individual Defendants are sued in their individual capacities.

14          38.      Defendants Jane Does I-X, John Does I-X, Black Corporations I-X, and

15   White Partnerships I-X, inclusive, are individuals, corporations, partnerships or business

16   entities which caused the events complained of to occur in the State of Arizona. Plaintiff

17   does not know the true identities of Defendants. However, Plaintiff will amend this

18   Complaint when the true names of the Defendants become known.

19          39.      Defendants John Does I-X, Jane Does I-X, Black Corporations I-X, and

20   ABC Partnerships I-X can include, but are not limited to, doctors, physicians, surgeons,

21   nurse practitioners, physicians assistants, or any other health care providers, who were

22   employees, agents or contractors of Defendants who administered care and treatment or
                                                    7
      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 32 of 42




 1   rendered diagnoses to Manuel Diaz and who negligently breached the standard of care in

 2   said care, treatment, or diagnoses to Manuel Diaz.

 3         40.    Upon information and belief, all physicians, nurses and other healthcare

 4   providers who provided care and treatment to Manuel Diaz while in ADOC custody

 5   including but not limited to the period from January 11, 2014, until his death on January

 6   24, 2014, were employees, agents, or ostensible agents of Defendants STATE OF

 7   ARIZONA or CORIZON for whose negligent or otherwise tortious conduct Defendants

 8   STATE OF ARIZONA and CORIZON are vicariously liable under the doctrines of

 9   respondeat superior, principal/agency, and non-delegable duty.

10         41.    Upon information and belief, Defendant COMMUNITY HEALTHCARE

11   OF DOUGLAS, INC. is vicariously liable for the negligence of any employees, doctors,

12   or healthcare providers who provided care and treatment to Manuel Diaz at any time while

13   he was serving his prison sentence or in ADOC custody, including but not limited to the

14   period from January 11, 2014, until his death on January 24, 2014.

15         42.    At all times mentioned herein, Defendants, and each of them, were agents,

16   servants and employees of the remaining Defendants, and each was at all times acting in

17   the course and scope of said agency, service and employment. All Defendants were either

18   joint tortfeasors with the other Defendants and were concurrently or jointly and severally

19   liable for the acts and omissions described herein or secondarily liable for said acts and

20   omissions.

21         43.    All Defendants had civil and constitutional duties to render and exercise

22   timely, proper, and reasonable medical care, assistance, and treatment to Manuel Diaz.
                                                 8
      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 33 of 42




 1          44.    Defendants had duties to take appropriate steps to correctly diagnose and

 2   treat Manuel Diaz.

 3          45.    Defendants diagnosed, treated, and cared for Manuel Diaz in an unskilled,

 4   careless, and negligent manner and failed to use proper skill or care in the treatment of

 5   Manuel Diaz, specifically in failing to treat a flu virus and resulting complications that

 6   caused Manuel Diaz’s death.

 7          46.    Manuel was Hepatitis-C positive at the time he was incarcerated in Douglas

 8   State Prison, and thus suffered a suppressed and damaged immune system which made

 9   him more susceptible to the flu virus.

10          47.    Despite Manuel’s weakened immune system, which made him both more

11   susceptible to the flu and more likely to have severe complications if he contracted it,

12   Defendants STATE OF ARIZONA, CORIZON, Ryan, and Ramos, and possibly other

13   individual defendants yet unknown, wrongfully denied Manuel Diaz a flu vaccine prior to

14   the commencement of the 2013-14 flu season.

15          48.    Defendants caused the events complained of to occur in the State of

16   Arizona.

17          49.    Jurisdiction and venue are appropriate in this Court.      The amount in

18   controversy exceeds the minimum jurisdictional limits of this court.

19          50.    On or about July 17, 2014, Plaintiff served a notice of claim on Defendant

20   STATE OF ARIZONA in compliance with A.R.S. § 12-821.01. Additionally, although

21   Defendant CORIZON is not entitled to the protections of A.R.S § 12-821.01, Plaintiff also

22   served a claim notice on Defendant CORIZON.
                                                 9
      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 34 of 42




 1          51.    Service of Plaintiff’s notice of claim on Defendants STATE OF ARIZONA

 2   and CORIZON was proper and complied with all statutory and common law requirements

 3   for presentation of notices of claim under A.R.S. § 12-821.01 and all other applicable law.

 4          52.    No substantive response or reply of any nature has been made by

 5   Defendants STATE OF ARIZONA or CORIZON. Thus, pursuant to A.R.S. § 12-821.01,

 6   Plaintiff’s claim has been denied and this lawsuit is properly commenced.

 7          53.    Manuel Diaz was taken into the custody of ADOC pursuant to court order

 8   sentencing him to five years in prison in October 2013.

 9          54.    Defendants knew or should have known that 2013-2014 was expected to be

10   a particularly virulent flu season and that because of the nature of incarceration and the

11   prison population inmates are particularly susceptible to the flu.

12          55.    Manuel also had specific pre-existing health complications which

13   compromised his immune system and made him particularly likely to both become

14   infected with the flu virus and to suffer more severely and have more serious

15   complications if he did become infected.

16          56.    Despite this information, Manuel was not given a flu vaccine at any point

17   while in ADOC custody, or even the opportunity to be vaccinated.

18          57.    In January 2014, Manuel became very ill.

19          58.    On or about January 11, 2014, through January 17, 2014, when he was

20   discharged first to SEAMC and then medically evacuated by helicopter to St. Luke’s

21   Medical Center in Phoenix, Manuel received medical care and attention from ADOC and

22   CORIZON agents and employees for flu-like symptoms.
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      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 35 of 42




 1            59.   Manuel, who was only 31 years old, first presented to Defendants Fimbres

 2   and Transue in the ADOC infirmary at the Douglas State Prison on January 11, 2014, with

 3   tingling in hands and feet, general body aches, shortness of breath, fever of over 103

 4   degrees, nausea and vomiting, and body chills. He’d been feeling bad since at least

 5   January 10, 2014.

 6            60.   Defendant CORIZON healthcare providers Defendants Fimbres and

 7   Transue noted in this initial visit that Manuel had not had a flu shot that flu season, but did

 8   nothing to address the flu other than telling Manuel to take ibuprofen and drink lots of

 9   water.

10            61.   Over the next three days Manuel’s condition worsened, but Defendant

11   CORIZON healthcare providers, including Defendants Fimbres, Jensen-Trees,                  and

12   Transue, did nothing to address the virus ravaging his body.

13            62.   Instead, on January 12, 2014, when Manuel again reported to the infirmary,

14   Defendant Fimbres only gave Manuel additional ibuprofen and told him to rest and drink

15   water.

16            63.   On January 13, 2014, when Manuel once again returned the infirmary,

17   Defendants Transue and Trees-Jensen recommend only rest, water, and ibuprofen.

18            64.   On January 14, 2014, Manuel returned for a fourth straight day to the

19   infirmary reporting of increasingly bad headaches, aches, sore throat, vomiting, and fever.

20   Defendant Trees-Jensen and Transue prescribed only an inhaler to help with breathing and

21   did no flu testing or treatment.

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                                                   11
      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 36 of 42




 1          65.    Unsurprisingly, Manuel’s condition worsened and on January 15, 2014, the

 2   fifth day of his illness, he was barely able to breathe and extremely sick.

 3          66.    Manuel’s fever had spiked along with his other vitals and he was coughing

 4   blood. Defendant Corizon healthcare providers Defendants Perea and Kinder determined

 5   that urgent intervention was needed at this time and referred Manuel for transfer out of the

 6   prison to nearby SEAMC in Douglas, but took no other steps to ensure Manuel was

 7   properly cared for including testing for influenza or recommending antiviral medication.

 8          67.    In the ER at SEAMC Manuel was seen by Mark Chorebanian, M.D. X-rays

 9   showed that Manuel’s left lung had pneumonia.

10          68.    But Manuel did not receive Tamiflu or any other influenza treatment at

11   SEAMC, and was sent back to the prison with prescriptions for Albuterol, Robitussin, and

12   Zithromax later that morning

13          69.    By 6:30 p.m. on January 15th, Manuel’s condition was rapidly deteriorating.

14   A corrections officer reported that Manuel had “Bloody stool.” The aching, headache,

15   and shortness of breath remained, and Manuel’s oxygen saturation levels were extremely

16   low, in the 80’s.

17          70.    Although Defendant CORIZON healthcare providers Defendants Transue

18   and Stephens checked the “Urgent Intervention” box, they gave him no additional

19   treatment and Manuel was told to return to the infirmary in the morning.

20          71.    By January 16, 2014, Manuel had been extremely sick for almost a week

21   with flu symptoms but had received no treatment for the flu. When he came back to the

22   infirmary at 7:35 a.m. he was in a wheelchair because he could barely walk and was
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      Case 2:15-cv-01222-DLR Document 1-1 Filed 06/30/15 Page 37 of 42




 1   having major trouble breathing. His vitals were again very high, and his oxygen levels

 2   were dangerously low.

 3          72.    Defendant CORIZON healthcare providers Defendants Trees-Jensen and

 4   Kinder ordered Manuel be given oxygen and a saline IV to stabilize his condition so he

 5   could be transferred back to SEAMC immediately. An ambulance delivered Manuel to

 6   SEAMC at 8:40 p.m.

 7          73.    This time, when Manuel was seen in the ER at SEAMC he was given

 8   Tamiflu STAT.

 9          74.    His condition was determined to be so severe and emergent that he was

10   immediately evacuated to St. Luke’s Medical Center in Phoenix that day.

11          75.    In his admission at St. Luke’s Manuel tested positive for the flu and was

12   noted to have suffered severe lung and kidney damage.

13          76.    Over the next eight days at St. Luke’s, Manuel’s clinical course was

14   extremely difficult from complications from the H1N1 flu, specifically respiratory distress

15   syndrome, kidney failure, and respiratory failure.

16          77.    Manuel passed away from these conditions on January 24, 2014.

17          78.    The Maricopa County Medical Examiner determined that Manuel died from

18   “complications of influenza.”

19          79.    A subsequent autopsy confirmed that Manuel had died from complications

20   from flu virus Influenza A H1N1.

21          80.    Despite overwhelming evidence of an active flu virus infection while in

22   ADOC custody and under the treatment of Defendant CORIZON medical care providers
                                                 13
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 1   that had begun on or before January 10, 2014, upon information and belief Manuel did not

 2   receive any treatment for the flu until on or after January 16, 2014.

 3           81.     Despite overwhelming evidence of an active flu virus infection that had

 4   begun on January 10, 2014, upon information and belief Manuel did not receive any

 5   treatment for the flu when he presented to the ER at SEAMC on January 15, 2014.

 6           82.     Timely treatment of his flu virus by Defendants would have prevented

 7   Manuel’s death from flu virus complications.

 8           83.     By the time Manuel was medically evacuated to St. Luke’s Medical Center

 9   on January 17, 2014, it was too late for medical interventions and flu treatment to save his

10   life.

11           84.     As a result of the negligence and gross negligence of Defendants, Manuel

12   Diaz died leaving two young children who depended upon him for support, care, comfort,

13   and love.

14           85.     As a result of the negligence and gross negligence of Defendants, Manuel

15   Diaz died leaving a mother who enjoyed the care, comfort, and love of the relationship

16   with her son.

17           86.     Defendants were negligent, grossly negligent, and careless in the

18   performance of duties of protection and care and failed to conform to the standards of

19   practice customarily recognized by medical physicians and hospitals in the State of

20   Arizona and other communities situated throughout the United States.

21           87.     Defendants were negligent, grossly negligent, and engaged in conduct

22   which fell below applicable standards of care.
                                                  14
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 1          88.    As a direct and proximate result of Defendants’ negligent, grossly negligent,

 2   reckless, and careless acts and omissions, Manuel Diaz suffered from injuries and

 3   complications resulting in his death on January 24, 2014.

 4          89.    As a further direct and proximate result of Defendants’ negligent, gross

 5   negligent, careless and reckless acts and omissions, the statutory beneficiaries herein,

 6   Plaintiff Olga Diaz, Mia Olga Diaz, and Nelly Joanne Diaz have experienced, and will

 7   continue to experience, pain, grief, sorrow, anguish, stress, shock, and mental suffering as

 8   a result of Manuel Diaz’s wrongful death.

 9          90.    As a further direct and proximate result of Defendants’ negligent, gross

10   negligent, careless and reckless acts and omissions, the statutory beneficiaries herein,

11   Plaintiff Olga Diaz, Mia Olga Diaz, and Nelly Joanne Diaz have been, and will continue

12   to be, deprived of Manuel Diaz’s love, affection, companionship, care, protection,

13   consortium, guidance, society, companionship, counsel, advice and solace as a result of

14   the wrongful death of Manuel Diaz.

15          91.    As a further direct and proximate result of Defendants’ negligent, gross

16   negligent, careless, and reckless acts and omissions, Plaintiff Olga Diaz, Mia Olga Diaz,

17   and Nelly Joanne Diaz have experienced and will continue to experience services that

18   have already been lost as a result of the death, and that are reasonably probable to be lost

19   in the future from the wrongful death of Manuel Diaz.

20          92.    The   above-described     breaches,   negligence,   and   gross    negligence

21   proximately give rise to and constitute a claim for damages for wrongful death pursuant to

22   A.R.S. §§ 12-611 et seq.
                                                 15
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 1          93.      As a prisoner under their custody and care, the individual Defendants named

 2   herein all owed Manuel a duty of competent medical care under 42 U.S.C. § 1983 and the

 3   Eighth Amendment to the U.S. Constitution.

 4          94.      The individual Defendants violated Manuel’s constitutional right to timely,

 5   competent medical care by:

 6                • failing to provide Manuel a flu vaccine shot prior to the start of the 2013-14

 7                flu season;

 8                • denying and delaying appropriate diagnoses and treatment of Manuel’s
 9                rapidly deteriorating condition in January 2014 while under their care;
10                • failing to have qualified medical personnel competent to examine, diagnose,
11                and treat Manuel during his illness; and
12
                  • failing to involve higher levels of care who could competently diagnose and
13
                  treat Manuel when he became ill and grew more and more sick.
14
            95.      In violating Manuel’s constitutional right to competent, timely medical care
15
     while in custody as described above, the individual Defendants were deliberately
16
     indifferent to Manuel’s serious illness.
17
            96.      The individual Defendants’ deliberate indifference disregarded clearly
18
     established law articulating Manuel’s right to timely, competent medical care while in
19
     custody.
20
            97.      No reasonable prison official or prison healthcare provider in the individual
21
     Defendants’ positions could have believed or concluded in 2014 that Manuel was not
22   entitled to timely, competent medical care under the Eighth Amendment.
                                                 16
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 1          98.    The individual Defendants’ deliberate indifference to Manuel’s rights and

 2   illness directly and proximately caused his death from complications from the flu.

 3          99.    Timely, competent medical care while in custody at Douglas State Prison

 4   and under the care of the individual Defendants would have prevented Manuel’s death.

 5          100.   Manuel’s death was a foreseeable consequence of the deliberate indifference

 6   of the individual Defendants and their violations of Manuel’s constitutional rights, and

 7   caused Plaintiff’s and Manuel’s statutory beneficaries’ harm as described herein.

 8          101.   The individual Defendants are not entitled to absolute or qualified immunity

 9   from Plaintiff’s § 1983 and constitutional claims.

10          WHEREFORE, Plaintiff and the other individual statutory beneficiaries pray for

11   judgment against Defendants, and each of them, as follows:

12          1.     For a sum that is reasonable and just for the wrongful death of Manuel Diaz;

13          2.     For general compensatory damages in a just and reasonable amount;

14          3.     For the reasonable value of special damages to compensate Manuel Diaz’s

15   surviving children and statutory beneficiaries, resulting from her death;

16          4.     For attorney fees as allowed by applicable law, including but not limited to

17   42 U.S.C. § 1988 and 42 U.S.C. § 1997;

18          5.     For Plaintiff’s costs incurred herein as permitted by law; and

19          6.     For such other and further relief as the Court and jury deem just and proper

20   in the premises.

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 1            RESPECTFULLY SUBMITTED this 12th day of June, 2015.

 2                                           GALLAGHER & KENNEDY, P.A.

 3
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 4                                             Lincoln Combs
                                               Kevin Neal
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 6
                                                 Attorneys for Plaintiff/Statutory
 7                                               Beneficiary Olga Diaz, mother of Manuel
                                                 Diaz, Deceased, and Jessica Trevino,
 8                                               natural mother and legal guardian of
                                                 Statutory Beneficiaries Mia Olga Diaz
 9                                               and Nelly Joanne Diaz, minor children of
                                                 Manuel Diaz
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